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JEFFERSON D. GILDER, individually and on
behalf of the heirs of ROBERT G. GILDER;

VS.

VENCOR NURSING CENTERS L]MITED
PARTNERSH]P, k/n/a K_INDRED NURSING
CENTERS LIMITED PARTNERSHIP,

dfb/ a Cordova Rehabilitation and

Nursing Center;

Defendant.

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

No. 2:04-cv-2852-D/V

JOINT PROPGSEDSCHEDULING ORDER

The undersigned counsel for the parties have conferred in accordance With the Court's

Notice of Setting of Scheduling Conference (docket entry 26), and agreed upon the following

dates to be established as the final dates for:

l. lnitial disclosures pursuant to Fed. R. Civ. P. 26(3)(1): January 26, 2005.

2. Joining parties: July 15, 2005.

3. Amending pleadings: July 15, 2005.

4. lnitial Motions to Dismiss: August 15, 2005.

5. Com}:»letingr all discovery: November 18, 2005.

(a)

Novernber 18, 2005.

(b)

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Docurnent Production,

interrogatories,

Expert witness disclosure (Rule 26):

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with Ru%e &`.-S and;"cr ?9{3) FHCP on

and request for admission:

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(i) Disclosure of Plaintiff‘s Rule 26 expert information: September
19, 2005.

(ii) Disclosure of Defendants' Rule 26 expert information: October 18,
2005.

(c) Depositions: November 18, 2005.

6. Filing dispositive motions: December 16, 2005.

7. Other relevant matters:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within thirty (3 0) days of the default or the service of the response, answer, or obj ection, Which is
the subject of the motion, if the default occurs within thirty (30) days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown, or the objection to
the defauit, response, answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to last approximately one Week.
The pretrial order date, pretrial conference date and trial date Will be set by the presiding judge.

This case may be appropriate for ADR. The parties agree to cooperate in evaluating,
after the close of discovery, whether the case is appropriate for ADR.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60, shall be accompanied by a proposed

order.

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The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required.

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order Will not be modified or
extended

IT IS SO ORDERED.

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Diane K. Vescovo
United States Magistrate Judge

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APPROVED:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CV-02852 was distributed by faX, mail, or direct printing on
.luly 6, 2005 to the parties listed.

 

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CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
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Honorable Bernice Donald
US DISTRICT COURT

